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                                     SUB-ZERO GROUP, INC.
                           10

                           11                               UNITED STATES BANKRUPTCY COURT

                           12                                SOUTHERN DISTRICT OF CALIFORNIA

                           13        In re                                          Case No. 24-01376-CL7

                           14        PIRCH, INC.,                                   Chapter 7

                           15                          Debtor.
                                                                                    DECLARATION OF MARK
                           16                                                       MARSHALL IN SUPPORT OF SUB-
                                     ______________________________________         ZERO GROUP WEST’S OPPOSITION
                           17                                                       TO THE CHAPTER 7 TRUSTEE’S
                                     LESLIE T. GLADSTONE, as CHAPTER 7              MOTION TO SELL LEASEHOLD
                           18        TRUSTEE,                                       INTERESTS AND RELATED
                                                                                    PERSONAL PROPERTY
                           19
                                                    Moving Party                    [Notice of Opposition, Opposition and
                           20                                                       Memorandum of Points and Authorities,
                                     _____________________________________          Request for Judicial Notice, and
                           21                                                       Declarations of Kelly Ciulla, Mark Zavras,
                                     SUB-ZERO GROUP, INC.,                          Barry Bredvik, Keene Kohrt, and Anthony
                           22                                                       Napolitano concurrently filed]

                           23                       Respondent                      Hearing:
                                                                                    Date:         July 1, 2024
                           24                                                       Time:         10:30 a.m. PDT
                                                                                    Place:        U.S. Bankruptcy Court
                           25                                                                     Department 1
                                                                                                  325 West F Street
                           26                                                                     San Diego, California 92101
                                                                                    Judge:        Hon. Christopher B. Latham
                           27

                           28
      BUCHALTER
A PROFES SION AL CORPORAT ION       BN 82605924v5                              1
        LOS ANG ELES
                                      DECLARATION OF MARK MARSHALL IN SUPPORT OF SUB-ZERO GROUP WEST’S OPPOSITION TO THE
                                       CHAPTER 7 TRUSTEE’S MOTION TO SELL LEASEHOLD INTERESTS AND PROPERTY OF THE ESTATE
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                                1                                    DECLARATION OF MARK MARSHALL
                                2              I, Mark Marshall, declare as follows:
                                3              1.       I am a Transportation Operations Manager of Sub-Zero Group, Inc., a Wisconsin
                                4   corporation, as successor by merger to Sub-Zero Group West, Inc., a California corporation, doing
                                5   business as Sub-Zero Group West (“Sub-Zero”), a position that I have held since 2021. I have been
                                6   employed by Sub-Zero Group since 2001.
                                7              2.       The following facts are true to the best of my own personal knowledge, except where
                                8   stated on information and belief, and as to those facts, I believe them to be true. If called as a
                                9   witness, I could and would testify competently to the facts set forth herein. I am over 18 years of
                           10       age. I submit this Declaration in support of Sub-Zero’s opposition to the Trustee’s Motion to
                           11       (1) Approve Auction Procedures; and (2) Sell Leasehold Interests and Related Personal Property
                           12       Pursuant to 11 U.S.C. § 363 Free and Clear of Liens, Claims and Interests [Docket No. 128] filed
                           13       by Leslie T. Gladstone, as Chapter 7 Trustee (the “Trustee”).
                           14                  3.       In my capacity as a Transportation Operations Manager, my job responsibilities
                           15       include managing all modes of transportation from production to dealer deliveries. I have counted
                           16       and conducted at least 25 inventory audits at Sub-Zero Group or Sub-Zero’s warehouses.
                           17                  4.       On or about April 12, 2024, Mark Zavras, Director of Credit, asked me and Keene
                           18       Kohrt to count and inspect the Sub-Zero inventory located at Pirch’s warehouses on April 15, 2024.
                           19                  5.       On April 15, 2024. Keene Khort and I counted and inspected the inventory located
                           20       at 1445 Engineer St., Vista, CA (“Engineer Street Facility”). On April 16, 2024, I counted and
                           21       inspected the inventory at 12740 E. Florence Ave, Santa Fe Springs, California 92081 (the “Santa
                           22       Fe Springs Facility”) and Keene Kohrt counted and inspected the inventory at 44-588 El Duna Ct.,
                           23       Suite F, Palm Desert, California (“Palm Desert Facility”).
                           24                  6.       Based on my observations, Pirch stored the vast majority of Sub-Zero’s Inventory
                           25       Collateral 1 at the Engineer Facility. Pirch stored the remainder of Sub-Zero’s Collateral at the
                           26       Santa Fe Springs Facility and the Palm Desert Facility. I am informed that Pirch no longer utilized
                           27       the Business Park Facility or the Oceanside Facility as a distribution center for Sub-Zero’s product.
                           28       1
                                        Capitalized terms not defined herein shall be as defined in the Motion.
      BUCHALTER
A PROFES SION AL CORPORAT ION       BN 82605924v5                                               2
        LOS ANG ELES
                                        DECLARATION OF MARK MARSHALL IN SUPPORT OF SUB-ZERO GROUP WEST’S OPPOSITION TO THE
                                         CHAPTER 7 TRUSTEE’S MOTION TO SELL LEASEHOLD INTERESTS AND PROPERTY OF THE ESTATE
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                                7.       hen I arrived al the · ngineer Street Facility and the Santa Fe Springs Facility, I

                  2    observed that nearly all uh-Zero product and sales accessories had been segregated into the staging

              3        area so that I could scan each item and serial number details and note product damage.

              4                 8.      t the Engineer Street Facility and Santa Fe Facility, I observed that Sub-Zero

              5        products were in their original packaging and most items were packaged in good condition. There

              6        were some customer return units at the Engineer Facility, which Keene Kohrt and r did not review

              7        or track as they were deemed to be "opened units" previously installed or delivered to a customer's

                      home

              9                9.      Keene Kohrt and I inspected each unit of boxed inventory at the Engineer Street

             IO        Facility and scanned each inspected unit's bar code into Sub-Zero Group 's audit tracking system.

             11        Specifically, we scanned Sub-Zero Group's crating label on each of the boxed inventory which

             I2        included the item number (sku) and serial number. From the scan of the sku, Sub-Zero Group's

             13        business system then generated the model number of the product. I performed the same inspection

             14        and scanning of the boxed inventory at the Santa Fe Springs Facility.

             15                 10.   I also evaluated the conditions of the boxes which included packaging or product

             16       damage and any additional labels or marking on the product. The only additional labeling I

             17        observed on the boxes was shipping labels from Sub-Zero Group or Sub-Zero to Pirch.

             18                 11.   While conducting the audit, I did not observe any Pirch customer information or

             19       customer specific labeling on the individual units or sales accessories that comprised the inventory.

             20       I observed that the only labels I saw on the boxed inventory were from Sub-Zero's Group factory

             21       or distribution center and Sub-Zero Group or Sub-Zero's shipping labels to send the units to Pirch.

             22                12.    I did not see any customer's names or customer order number on any of Sub-Zero's

             23       products ih the two Distribution Centers.

             24                I declare under the penalty of perjury under the laws of the United States of America that

             25       the foregoing is true and correct. Executed on June 4, 2024 at Fitchburg, Wisconsin.

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             27                                                         .4/4ft/'~
                                                                        MARK MARSHALL
             28
BUO!ALTEII
                      BN 82605924vS                                    3
                        DECLARATlON OF MARK MARSHALL JN SUPPORT OF SUB-ZERO GROUP WEST'S OPPOSITION TO THE
                         CHAPTER 7 TRUSTEE'S MOTION TO SELL LEASEHOLD INTERESTS A O PROPERTY OF THE ESTATE
